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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION
                                                  	  
 DISPLAY TECHNOLOGIES, LLC,

                                                         Civil Action No. 2:17-cv-00192-JRG-RSP
                       Plaintiff,
                                                            CONSOLIDATED LEAD CASE
                v.
                                                              JURY TRIAL DEMANDED
 CANON U.S.A, INC., et al.,

                       Defendants.


                NOTICE OF DISMISSAL PURSUANT to RULE 41(a)(1)(A)(i)

        Display Technologies, LLC (“Plaintiff”), pursuant to Federal Rule of Civil Procedure

 41(a)(1)(A)(i), hereby gives notice of dismissal of consolidated Defendant Panasonic

 Corporation of North America, with prejudice, with each party to bear its own costs, attorneys’

 fees and expenses. Defendant Panasonic Corporation of North America has not answered or

 filed a motion for summary judgment, therefore no order is required under the Rule. Plaintiff’s

 claims against Defendant Canon U.S.A., Inc. shall remain in full force and effect.

                                              Respectfully submitted,

                                              /s/ Thomas C. Wright
                                              THOMAS C. WRIGHT
                                              State Bar No. 24028146
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                                              ATTORNEY FOR PLAINTIFF




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                                CERTIFICATE OF SERVICE

        The undersigned certifies that on this 4th day of August, 2017, all counsel of record are
 being served with a copy of this document through the Court's CM/ECF system.


                                             /s/ Thomas C. Wright
                                             Thomas C. Wright




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